Case 1:25-cv-00322-LEW          Document 3     Filed 06/23/25      Page 1 of 2    PageID #: 94




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


 DLJ MORTGAGE CAPITAL, INC.

       Plaintiff

 v.

 KEVIN M. MORNEAULT

       Defendant,

       And

 ATLANTIC CREDIT AND FINCANCE, INC.,
 CAPTIAL ONE BANK USA, N.A., and
 LEE’S CONCRETE, INC.                                    Case No. 1:24-cv-00416-LEW

       Parties-In-Interest


 KEVIN M. MORNEAULT

       Counterclaim Plaintiff

  v.

 DLJ MORTGAGE CAPTIAL, INC. and
 FEDERAL NATIONAL MORTGAGE
 ASSOCIATION

       Counterclaim Defendants


       MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT

        The undersigned Brett Baber hereby moves for leave to withdraw as counsel for the

defendant and counterclaim plaintiff Kevin M Morneault on the grounds that health issues

encountered by the undersigned make it impossible to continue his representation. Said

defendant and counterclaim plaintiff will continue to be represented by Thomas A Cox, Esq.



                                               1
Case 1:25-cv-00322-LEW   Document 3   Filed 06/23/25      Page 2 of 2    PageID #: 95




 DATED: June 23, 2025

                                          /s/ Brett Baber
                                          Brett Baber, Esq. Me. Bar No. 3143
                                           Attorney for Defendant and Counterclaim
                                           Plaintiff Kevin Morneault

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